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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  Carlos Contreras,                                               )
                                                                  )
                                                    Plaintiff(s), )
                                                                  )      Case No.
                            -against-                             )
                                                                  )      COMPLAINT
  Polar Property Services, Inc., John A. Romanelli and            )
  Richard P. Sculco,                                              )
                                                                  )
                                                 Defendant(s). )
                                                                  )

        This complaint is filed by Plaintiff(s) against Defendants to recover:

                a.      Overtime premium pay as required by the Fair Labor Standards Act of 1938

        (the “FLSA”), as amended, 29 U.S.C. § 201 et seq. (29 U.S.C. § 207), and by the New

        York Labor Law (the “NYLL”) Article 19, §§ 650 et seq., and the supporting New York

        State Codes, Rules and Regulations, 12 NYCRR § 142-2.2;

                b.      Failure to pay regular wages under NYLL § 193;

                e.      Statutory damages for wage statement violations of NYLL § 195(3);

                f.      Statutory damages for wage notice violations under NYLL § 195(1);

                                    JURISDICTION AND VENUE

         2.      This court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

  supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367, since

  such claims are so related in this action to the federal claims that they form part of the same case

  or controversy under Article III of the United States Constitution.

         3.      In addition, the Court has jurisdiction over Plaintiffs’ claims under the FLSA

  pursuant to 29 U.S.C. § 216(b).

         4.      Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. §

  1391, as a substantial part of the events or omissions giving rise to the claims in this action
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  occurred within the Eastern District of New York.

                                                PARTIES

                                                  Plaintiff

                                             Carlos Contreras

          5.      Plaintiff Carlos Contreras is a natural person who resides in Nassau County, New

  York.

          6.      Carlos Contreras was an employee of Defendant Polar Property Services, Inc. at

  times during the six year period preceding the filing of this complaint (“relevant time period”).

                                                Defendants

                                       Polar Property Services, Inc.

          7.      Defendant Polar Property Services, Inc. (“Polar”) is a domestic limited liability

  company formed under the laws of the State of New York.

          8.      Defendant’s principal place of business is located in Nassau County, New York.

          9.      During the Relevant time period, Polar provided property maintenance and

  construction services.

          10.     Polar has been engaged in activities affecting interstate commerce as defined in 29

  U.S.C. §§ 201 et. seq. during the relevant time period.

          11.     More specifically, the services supplied by Polar include “Snow Plowing”, “Snow

  Hauling”, “Salting” and “Liquid Deicing”. The salting and liquid de-icing products applied by

  Polar are manufactured by Sears Ecological Applications Company, LLC (SEACO) and Sears

  Companies (SEARS) under the “Original Magic High Performance Ice Melt” label. These

  products are made from Distillers Condensed Solubles (DCS) and Magnesium Chloride, which

  are transported in interstate and international commerce into the State of New York. In addition,

  Polar distributed “Original Magic” in commerce. In addition, the Plaintiff drove a company
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  vehicle that was not manufactured in the State of New York and used tools that had been

  transported in commerce.

         12.     For each calendar year from January 1, 2020, and up to the present time Polar’s

  annual gross volume of sales made or business done was equal or greater than $500,000.

         13.     Polar employed the Plaintiff(s).

                                         John A. Romanelli

         14.     John A. Romanelli is a natural person who resides in Nassau County, New York.

         15.     Upon information and belief, John A. Romanelli has been a shareholder of Polar

  during the relevant time period.

         16.     Upon information and belief, John A. Romanelli has been a manager of Polar

  during the relevant time period.

         17.     John A. Romanelli had the power to hire and fire the Plaintiff and other Polar

  employees, supervised and controlled their work schedules, the conditions of their employment,

  determined the rate and method of their pay, and maintained records of their employment.

         18.     Upon information and belief, John A. Romanelli exercised sufficient operational

  control over Polar to be deemed the Plaintiff’s employer under the FLSA and the NYLL.

         19.     John A. Romanelli employed the Plaintiff.

                                          Richard P. Sculco

         20.     Richard P. Sculco is a natural person who resides in Nassau County, New York.

         21.     Upon information and belief, Richard P. Sculco has been a shareholder of Polar

  during the relevant time period.

         22.     Upon information and belief, Richard P. Sculco has been a manager of Polar

  during the relevant time period.

         23.     Richard P. Sculco had the power to hire and fire the Plaintiff and other Polar
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  employees, supervised and controlled their work schedules, the conditions of their employment,

  determined the rate and method of their pay, and maintained records of their employment.

         24.       Upon information and belief, Richard P. Sculco exercised sufficient operational

  control over Polar to be deemed the Plaintiff’s employer under the FLSA and the NYLL.

         25.       Richard P. Sculco employed the Plaintiff.

                                     FACTUAL ALLEGATIONS

         26.       The Plaintiff Carlos Contreras (“Contreras”) was employed by Polar as a laborer

  and driver.

         27.       He was employed by Polar from approximately March 1, 2021 until on or about

  February 9, 2024.

         28.       The Defendants paid the Plaintiff as follows:

                a. 2021-2023: $200 per day.

                b. 2024: $210 per day.

         29.       The Plaintiff’s scheduled workweek was from 8 AM until 4 PM, five days a week

  (Monday-Friday).

         30.       The Defendant required the Plaintiff to perform additional work prior to 8AM and

  after 4PM which was not compensated.

         31.       The Plaintiff was required to operate a company vehicle before 8AM and after

  4PM.

         32.       The Plaintiff was required to provide transportation to other employees to and from

  the worksite before 8 AM and after 4PM.

         33.       The Plaintiff was required to transport tools, materials and equipment to and from

  worksites before and after his scheduled hours.

         34.       The Plaintiff was not paid for his pre- and post-schedule drive time.
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         35.      At times during his employment, the Plaintiff was required to transport another

  employee to and from the Defendants’ place of business. At these times, the Plaintiff was

  required to report to the Defendants’ place of business at approximately 7:30 AM.

         36.      As a result of the unpaid pre-and post-shift work, the plaintiff worked more than 40

  hours per week without overtime compensation.

         37.      The Defendants paid the Plaintiff “off-the-books” in cash.

         38.      Defendants failed to furnish to Plaintiff a payroll notice at the time of his hire, or at

  any time thereafter, containing the Plaintiff’s hourly rates of pay, the designated payday, or other

  information required by NYLL 195(1)(“hiring notice”).

         39.      Defendants also failed to furnish to Plaintiff, with each wage payment, an accurate

  statement listing Plaintiffs’ regular and overtime rates and the number of regular and overtime

  hours worked as required by NYLL 195(3)(“wage statement”).

         40.      The failure to issue a hiring notice or wage statement caused the Plaintiff to endure

  uncertainty regarding his wages and impeded his ability to take action to correct Defendants' wage

  and hour violations as he had no means to confirm that he was being compensated in accordance

  with federal and state law. Moreover, Defendants injured the Plaintiff by failing to provide him

  with complete and accurate information about the terms of his compensation, which resulted in

  the underpayment of wages.

         41.      The Defendants failed to keep accurate records of the hours worked by and wages

  paid to the Plaintiff as required by the FLSA and the NYLL.

         42.      The Defendants failed to post notices of employee rights as required by the NYLL

  and the FLSA.

               WILLFULNESS ALLEGATIONS AND LIQUIDATED DAMAGES

         43.      As part of their regular business practice, Defendants have willfully engaged in a
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     pattern, practice, and/or policy of violating state wage and hour laws.

             44.    The Defendants’ payment of wages “off the books”, failing to furnish a hiring

     notice failing to furnish wage statements, and failing to post notice of employee rights were

     designed to evade the obligation to comply with the NYLL and the FLSA, and to pay the

     employer’s fair share of unemployment insurance, workers’ compensation insurance, and federal

     and New York State payroll taxes.1

             45.    The failure to record and report cash wages was not “mere negligence” but

     constitutes criminal conduct, including:

                   (a) Falsification of business records (N.Y. Penal Law § 175.10);

                   (b) Failure to secure workers’ compensation insurance (N.Y. Workers’ Comp. Law

                       § 52);

                   (c) Insurance fraud (N.Y. Workers’ Comp. Law § 114);

                   (d) Falsification of workers’ compensation payroll records (N.Y. Workers’ Comp.

                       Law § 131);

                   (e) Payroll tax fraud (26 U.S.C. § 7202);

                   (f) New York Tax Fraud (NY Tax Law § 1801, et seq.)

                   (g) Unemployment insurance fraud (N.Y. Lab. Law § 632).

             46.    Because the Defendants’ violations were willful, the Plaintiff is entitled to an

     additional award of liquidated damages equal to the unpaid overtime and spread of hours pay

     owed.




 1
  An employer’s willingness to making off-the-books cash payments and failure to post notice of
 employee’s rights supports a finding of willfulness. Shu Qin Xu v. Wai Mei Ho, 111 F. Supp. 3d
 274, 280 (E.D.N.Y. 2015); Zhengfang Liang v. Cafe Spice SB, Inc., 911 F. Supp. 2d 184, 200
 (E.D.N.Y. Nov. 29, 2012); Moon v. Kwon, 248 F. Supp. 2d 201, 231 (S.D.N.Y. 2002).
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                ATTORNEYS’ FEES, COSTS AND PREJUDGMENT INTEREST

         47.     The Plaintiff is entitled to prejudgment interest at 9% per annum under NYLL §

  198.

         48.     The Plaintiff, in an attempt to avoid costly litigation, offered to mediate this case

  prior to commencement of this action. The Defendants refused.

         49.     Defendants’ failure to participate in mediation despite notice of the clear violations

  of the NYLL and the FLSA has unnecessarily multiplied these proceedings and required the

  Plaintiff to incur attorneys’ fees and costs.

                                     FIRST CAUSE OF ACTION

                          Overtime Violations - Fair Labor Standards Act

                         29 U.S.C. §§ 201, et. seq.; 29 U.S.C. §§ 207(a) & 216

         50.     Plaintiff(s) reallege and incorporate by reference all allegations in all preceding

  paragraphs.

         51.     Defendants were each an employer engaged in commerce and/or the production of

  goods for commerce within the meaning of 29 U.S.C. §§ 206(a) and 207(a).

         52.     At all times relevant, Plaintiff(s) were or have been employees within the meaning

  of 29 U.S.C. §§ 203(e) and 207(a).

         53.     The Defendants employed the Plaintiff(s) as an employer.

         54.     The Defendants failed to compensate the Plaintiff(s) at one and one half times their

  regular rate of pay for all hours worked in excess of 40.

         55.     Defendants did not make a good faith effort to comply with the FLSA with regard

  to overtime compensation to the Plaintiff(s). Therefore, a three-year statute of limitations applies.

  29 U.S.C. § 255.

         56.     As a result of Defendants’ violations of the FLSA, the Plaintiff(s) have suffered
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  damages by being denied overtime wages in accordance with the FLSA in amounts to be

  determined at trial, including liquidated damages, prejudgment interest, attorneys' fees, costs, and

  other compensation pursuant to 29 U.S.C. §§ 201 et seq.

                                  SECOND CAUSE OF ACTION

                                              Overtime

                     NYLL Article 19 §§ 650 et seq.; 12 N.Y.C.R.R. § 142-2.2

         57.     Plaintiff(s) reallege and incorporate by reference each allegation contained in the

  paragraphs above as though fully set forth herein.

         58.     At all times relevant, the Plaintiff(s) have been employees and Defendants have

  been the employer within the meaning of the NYLL § 651.

         59.     The Defendants failed to compensate the Plaintiff(s) at one and one half times their

  regular rate of pay for all hours worked in excess of 40.

         60.     The Defendants’ violations of the NYLL, as described in this Complaint, have

  been willful and intentional.

         61.     Due to the Defendants’ violations of the NYLL, the Plaintiff(s) are entitled to

  recover from the Defendants their unpaid overtime wages, liquidated damages, attorneys' fees,

  costs of the action, and pre-judgment and post-judgment interest.

                                   THIRD CAUSE OF ACTION

                                           Straight Wages

                                             NYLL § 193

         62.     Plaintiff(s) reallege and incorporate by reference each allegation contained in the

  paragraphs above as though fully set forth herein.

         63.     At all times relevant, the Plaintiff(s) have been employees and Defendants have

  been the employer within the meaning of the NYLL § 190.
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         64.     The Defendants failed to compensate the Plaintiff(s) for all non-overtime hours

  worked at their regular rate of pay.

         65.     The Defendants’ violations of the NYLL, as described in this Complaint, have

  been willful and intentional.

         66.     Due to the Defendants’ violations of the NYLL, the Plaintiff(s) are entitled to

  recover from the Defendants their unpaid wages, liquidated damages, attorneys' fees, costs of the

  action, and pre-judgment and post-judgment interest.

                                  FOURTH CAUSE OF ACTION

                                         Wage Statement Claims

                                         NYLL §§ 195(3) & 198

         67.     Plaintiff(s) reallege and incorporate by reference each allegation contained in the

  paragraphs above as though fully set forth herein.

         68.     Defendants did not issue wage statements to Plaintiff(s) with each payment of

  wages that complied with NYLL § 195(3).

         69.     Due to the Defendants’ violations of NYLL § 195(3), the Plaintiff(s) are entitled to

  recover from the Defendants statutory damages of $250 per workday up to a maximum of $5,000

  each, attorneys’ fees and costs of the action.

                                    FIFTH CAUSE OF ACTION

                                           Wage Notice Claim

                                         NYLL §§ 195(1) & 198

         70.     Plaintiff realleges and incorporates by reference each allegation contained in the

  paragraphs above as though fully set forth herein.

         71.     The Defendants did not issue a wage notice to Plaintiff within 10 business days of

  hiring as required by NYLL § 195(1) and NYLL § 198(1-b).
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        72.     Due to the Defendants’ violation of NYLL § 195(1) Plaintiff(s) are entitled to

 recover from the Defendants statutory damages of $50 per workday up to a maximum of $5,000,

 attorneys’ fees and costs of the action.

                                            JURY DEMAND

        Plaintiff(s) demand a trial by jury on all claims properly triable by a jury.

                                      PRAYER FOR RELIEF

       WHEREFORE, the Plaintiffs respectfully request that this Court grant the following relief:

                       A.      Unpaid overtime wages under the FLSA;

                       B.      Unpaid overtime wages under the NYLL;

                       C.      Unpaid regular wages under the NYLL;

                       F.      Statutory damages for violations of NYLL § 195(3);

                       G.      Statutory damages for violations of NYLL § 195(1);

                       H.      Liquidated damages;

                       I.      Attorneys’ fees and costs of the action;

                       J.      Pre-judgment and post-judgment interest as provided by law; and

                       K.      Such other relief as this Court shall deem just and proper.


Dated: January 13, 2025

                                              MOSER LAW FIRM, P.C.

                                              Steven John Moser
                                              Steven John Moser (SM6628)
                                              133C New York Ave
                                              Huntington, New York 11743
                                              steven.moser@moserlawfirm.com
                                              (631) 824-0200
